Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 1 of 81


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION


  REPUBLICAN NATIONAL COMMITTEE;                   PLAINTIFFS
  MISSISSIPPI REPUBLICAN PARTY;
  JAMES PERRY; AND MATTHEW LAMB

  VS.                                              CIVIL NO. 1:24CV25

  JUSTIN WETZEL, IN HIS OFFICIAL
  CAPACITY AS THE CLERK AND REGISTRAR
  OF THE CIRCUIT COURT OF HARRISON
  COUNTY, ET AL                                    DEFENDANTS

                             CONSOLIDATED WITH

  LIBERTARIAN PARTY OF                             PLAINTIFF
  MISSISSIPPI

  v.                                               CIVIL NO. 1:24cv37

  JUSTIN WETZEL, IN HIS OFFICIAL                   DEFENDANTS
  CAPACITY AS THE CLERK AND REGISTRAR
  OF THE CIRCUIT COURT OF HARRISON
  COUNTY, ET AL



                              MOTIONS HEARING

                BEFORE THE HONORABLE LOUIS GUIROLA, JR.
                     UNITED STATES DISTRICT JUDGE

                                JULY, 9, 2024
                            GULFPORT, MISSISSIPPI




  REPORTED BY:    SHERRI L. PENNY, RPR, FCRR
                  Mississippi CSR #1609
                  2012 15th Street, Suite 403
                  Gulfport, Mississippi 39501
                  (228) 563-1781
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 2 of 81   2


1      APPEARANCES:

2      REPRESENTING THE REPUBLICAN PARTY PLAINTIFFS:
       SPENCER MARK RITCHIE, ESQUIRE
3      FORMAN WATKINS & KRUTZ, LLP - JACKSON
       P.O. BOX 22608
4      210 EAST CAPITOL STREET, SUITE 2200
       Jackson, MISSISSIPPI 39225-2608
5                 And
       CONOR D. WOODFIN, ESQUIRE - PHV
6      CONSOVOY MCCARTHY, PLLC
       1600 Wilson Blvd., SUITE 700
7      ARLINGTON, VIRGINIA 22209

8      REPRESENTING LIBERTARIAN PARTY OF MISSISSIPPI:
       T. RUSSELL NOBILE, ESQUIRE
9      JUDICIAL WATCH, INC.
       P. O. BOX 6592
10     GULFPORT, MISSISSIPPI 39506

11     REPRESENTING SECRETARY OF STATE MICHAEL WATSON:
       REX M. SHANNON, III, ESQUIRE
12     WILSON MINOR, ESQUIRE
       OFFICE OF THE ATTORNEY GENERAL - JACKSON
13     550 HIGH STREET
       JACKSON, MISSISSIPPI 39201
14
       REPRESENTING INTERVENOR DEFENDANTS VET VOICE FOUNDATION AND
15     MISSISSIPPI ALLIANCE FOR RETIRED AMERICANS:
       CHRISTOPHER D. DODGE, ESQUIRE
16     PALOMA WU, ESQUIRE
       ELIAS LAW GROUP, LLP
17     250 MASSACHUSETTS AVENUE NW
       SUITE 400
18     WASHINGTON, DC 20001

19     REPRESENTING DEFENDANTS JUSTIN WETZEL, ET AL:
       TIM C. HOLLEMAN, ESQUIRE
20     BOYCE HOLLEMAN, P.A.
       1720 - 23RD AVENUE
21     GULFPORT, MISSISSIPPI 39501

22

23                                      - - -

24

25
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 3 of 81   3


1                  THE COURT:    Madam Clerk, you may call the case.

2                  DEPUTY CLERK:    The United States District Court for

3      the Southern District of Mississippi, Southern Division, civil

4      case number 1:24cv25, Republican National Committee, et al,

5      versus Wetzel, et al, consolidated with case 1:24cv37,

6      Libertarian Party of Mississippi versus Wetzel, et al.

7                  THE COURT:    What says the plaintiff, Republican

8      National Committee?

9                  MR. WOODFIN:    Good afternoon, Your Honor.         Conor

10     Woodfin, and with me is Spencer Ritchie for the Republican

11     Party plaintiffs.

12                 THE COURT:    Thank you and good afternoon.

13           What says the plaintiff, Mississippi Republican Party?

14                 MR. WOODFIN:    Also for the Mississippi Republican

15     Party, and the two individual plaintiffs as well.

16                 THE COURT:    You have all of the additional individual

17     plaintiffs as well?

18                 MR. WOODFIN:    Yes, Your Honor.

19                 THE COURT:    All right.     I will skip right through

20     that and then we'll move to the plaintiff in the consolidated

21     matter, Libertarian Party of Mississippi.

22                 MR. NOBILE:    Good afternoon, Your Honor.         Russell

23     Nobile from Judicial Watch on behalf of the Libertarian Party

24     of Mississippi.     We are ready.

25                 THE COURT:    Thank you, very good.       Thank you, Mr.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 4 of 81   4


1      Nobile, and good afternoon.

2            What says the defendant, Justin Wetzel?

3                  MR. HOLLEMAN:    Tim Holleman for Mr. Wetzel, and I

4      represent the five Harrison County election commissioners,

5      also, who are sued in their official capacities.

6                  THE COURT:    Thank you, Mr. Holleman.        Good afternoon.

7                  MR. HOLLEMAN:    Good afternoon to you, Your Honor.

8                  THE COURT:    What says the defendant, Michael Watson,

9      in his capacity as Secretary of State?

10                 MR. SHANNON:    Good afternoon, Your Honor.         Rex

11     Shannon with the Mississippi Attorney General's Office here on

12     behalf of Secretary Watson.      I am joined by my co-counsel,

13     Wilson Minor.

14                 THE COURT:    Thank you, gentlemen, good afternoon.

15     And the intervenor defendant, the Vet Voice Foundation, what is

16     your announcement?

17                 MR. DODGE:    Good afternoon, Your Honor.         Christopher

18     D. Dodge of the Elias Law Group on behalf of intervenor

19     defendants, joined today by Paloma Wu from the Mississippi

20     Center for Justice.

21                 THE COURT:    Thank you and good afternoon.         I believe

22     we had one additional intervenor defendant.           Brittany, am I

23     wrong, would that be the Mississippi Alliance for Retired

24     Americans?

25                 MR. DODGE:    I represent them as well, Your Honor, all
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 5 of 81   5


1      intervenor defendants.      Thank you.

2                  THE COURT:    Very good.     Thank you for those

3      announcements.     And the Court, of course, appreciates your

4      willingness to appear here today for an oral argument on what

5      appears to me to be cross-motions for summary judgment on two,

6      at least two overarching important issues, one of which is, of

7      course, standing.

8            The federal courts, of course, are courts of limited

9      authority, limited jurisdiction, that is limited power, and it

10     is incumbent upon the parties to prove to the Court that they

11     have standing in order to bring these claims.

12           In addition to that, of course, the other overarching

13     issue is the merits of the claim, and that is whether or not

14     the Mississippi Absentee Voting Statute is in conflict with

15     federal law.

16           Now, these are two cross-motions for summary judgment, so

17     it really doesn't matter who goes first, sort of a coin toss.

18     I tossed the coin myself.      Mississippi Republican Party and the

19     plaintiffs, the Libertarian Party, you won the toss, you get to

20     go first.

21           Now, there are -- we're going to have 20 minutes for oral

22     argument for each group, that is Republican Party gets 20

23     minutes, and then Libertarian Party, you get 20 minutes as

24     well.   And all parties will get that same amount of time.               If

25     you wish, you may reserve up to five minutes for rebuttal.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 6 of 81   6


1            Now, I don't intend to interrupt anybody by asking

2      questions in the middle of your arguments.          I will give you a

3      full and fair opportunity to argue your case and your

4      positions, and at the conclusion when you tell me that you're

5      through I may have some questions directed at each of the

6      individual lawyers as they argue.        Again, at the conclusion you

7      can reserve up to five minutes for a rebuttal.

8            Any questions on behalf of the plaintiffs?

9                  MR. NOBILE:    Your Honor, Russell Nobile.         The Court's

10     order had asked us to try to work with each other to try to

11     make sure we do not overlap on certain questions.             So I just

12     wanted to understand the sequence as to if the other plaintiffs

13     will follow me or whatnot.      Obviously, I can dictate because I

14     can cover everything first on the front end, but I want to make

15     sure that we're covering what we need to and I can anticipate

16     the sequence that the Court is planning.

17                 THE COURT:    If I were you, I'd handle it by myself.

18                 MR. NOBILE:    Perfect.

19                 THE COURT:    And nobody is going to cover for me and

20     my client but you.

21                 MR. NOBILE:    Perfect.

22                 THE COURT:    But again, you can reserve up to five

23     minutes of your 20-minute period in order to rebut any argument

24     that may be made by the defendants.

25           And Mr. Holleman, it was my understanding that you do not
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 7 of 81   7


1      intend to argue on behalf of the individual defendants?

2                  MR. HOLLEMAN:    That is correct, Your Honor.          We'll

3      join in the arguments of the Secretary of State.

4                  THE COURT:    All right.     Basically, we're going to

5      have four groups that will argue their positions.             I do

6      encourage you not to overlap.       I also encourage you -- I have

7      read, obviously, all of the briefs by the parties, but I note

8      that we received several briefs from Amici that were very

9      helpful and we had an opportunity to review those as well.               So

10     again, I encourage you not to be repetitious of what may be in

11     your briefs.    I know that you, obviously, will have to argue

12     the points, but just don't regurgitate what's in the briefs.                 I

13     have already read the briefs.       Try not to overlap if you can;

14     otherwise, I will get out of your way.         And Mr. Nobile, you can

15     begin on behalf of the Republican Party.

16                 MR. NOBILE:    Thank you, Your Honor.         Russell Nobile

17     for the Libertarian Party.      I would like to reserve five

18     minutes of time.

19           Touching on the standing question to begin with.             The

20     political parties and candidates have standing to sue over

21     state regulations affecting the timing of the federal

22     elections.    Every non-vacated circuit ruling and Supreme Court

23     ruling on this question has assumed or affirmatively held that

24     they do.    In fact, we have been unable to find any non-vacated

25     or circuit ruling or Supreme Court ruling that held otherwise.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 8 of 81   8


1      Indeed, as best we can tell neither have either set of

2      defendants.

3            If I have time, I will try to address all the lower court

4      rulings that have been addressed by the defendants.             I note,

5      however, that most that were cited in their papers were never

6      appealed with the exception of Bost, which I argued two and a

7      half months ago, which is still pending before the Seventh

8      Circuit.    Almost all were preliminary rulings.          These

9      preliminary rulings are not controlling anywhere, not even in

10     their home districts.

11           Most of the defendants' standing arguments challenge our

12     merits of our legal claims.      But the Supreme Court has made

13     clear that in determining standing, Courts are required to

14     accept as valid the merits of our legal claims.            The Court

15     recently affirmed that in FEC versus Ted Cruz, 569 U.S. 289.

16           Here, what that means is that in determining the

17     Libertarian Party standing, the Court must accept as valid our

18     claim that Mississippi law is preempted by federal law by the

19     election day statutes, and that late-arriving ballots are

20     categorically invalid under federal law.          The Libertarian Party

21     has shown six types of standing injuries.          As the Court has

22     indicated, I am not going to repeat every one of them, but we

23     only need to show that there is no question of material fact

24     for one of our injuries that we have shown to prevail.              All six

25     of these injuries have been recognized either by circuit courts
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 9 of 81   9


1      or the Supreme Court.      Our injuries are intuitive, meaning that

2      one would reasonably expect a political party to experience

3      such injuries based on these valid legal theories.             For

4      example, one would reasonably expect the Libertarian Party of

5      Mississippi to spend at least one dollar in monitoring

6      late-arriving ballots in all 82 counties for five extra

7      business days.     In fact, it would almost be improbable to

8      maintain that the Libertarian Party doesn't suffer at least $1

9      of expense related to monitoring ballots five extra days in 82

10     counties.

11           These injuries are not just expected, though, we have

12     shown that in the record.      We have shown affirmatively based on

13     the declarations of Vicki Hanson that the Court has.             The only

14     record evidence on the question that shows that these costs

15     were, in fact, incurred by the Libertarian Party.             Based on her

16     declaration, there is no genuine dispute of fact that these

17     costs were incurred, which may explain why both sets of

18     defendants do not seem to challenge that they actually incurred

19     these expenses, they challenge whether or not these expenses

20     are traceable, or excuse me, are covered under the injury in

21     fact analysis covering, or triggering Article III standing.

22           I would also note that the standing requires, of course,

23     injury in fact, traceability and redressability.            Both

24     defendants almost exclusively argue injury in fact.             They do

25     not appear to challenge traceability; obviously, they can stand
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 10 of 81 10


1       up and speak for themselves in a second.         That said, the only

2       record evidence here is for Ms. Hanson, and that establishes

3       that these injuries are traceable to the statute in question

4       and that, of course, this Court can redress any of these

5       injuries with an order enjoining the state statute.

6             Turning to the merits.     I want to first orient the Court

7       about the authority to regulate federal elections as structured

8       in the Constitution, because the overall structure really sort

9       of matters here and it animates a lot of this conversation.

10            No federal government existed prior to the founding of the

11      United States; thus, the previously sovereign and independent

12      colonies had no right with respect to regulating federal

13      elections and no powers to regulate under common law.             That is

14      why the regulatory powers reserved under the 10th Amendment

15      does not include regulatory powers related to federal

16      elections, and that power must come from the Constitution.             And

17      I'm paraphrasing all of this from Supreme Court opinion called

18      U.S. Term Limits versus Thornton, 514 U.S. 779, which goes

19      through an extensive recounting of the allocation of authority.

20      So basically, the state started with zero authority, and then

21      the Constitution either expressly gave them certain authority

22      or temporarily loaned authority until the federal government

23      exercised its prerogatives.      And so most cases, the authority

24      states have is only on temporary loan under the Constitution.

25      This is all part of the analysis that's in Arizona Inter
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 11 of 81 11


1       Tribal.

2             Using these timing powers, their absolute powers, the

3       federal government established a national election day.             And

4       under Arizona Tribal, this necessarily displaced the loaned

5       power and the federal government reclaimed that power back from

6       the states.    The Supreme Court has made clear that we only need

7       to show that the state regulation is inconsistent with election

8       day statutes to prevail.      That is a much lower standard than

9       the standard cited in the Bomer case and relied on by the

10      defendants.    Now, it wasn't explicitly done so, but that

11      standard in Bomer says directly conflict.          The Arizona Inter

12      Tribal makes clear that they don't have to find a direct

13      conflict.   Because frankly, states have more authority in the

14      qualifications of voters in filling out a voter registration

15      form than they do in the timing of regulations.           So to try to

16      distill that down, where states even have more authority they

17      can be inconsistent with federal law, which is what Scalia,

18      Justice Scalia said in Arizona Inter Tribal.

19            Now, all of this boils down to what does election day

20      mean, and that task is the first step at hand here, so we have

21      to address that.    And unfortunately Congress and -- Congress

22      has not really given a functional precise deadline of it.             And

23      the Supreme Court, with the exception of Foster v. Love, hasn't

24      done much else.    So the definition must be resolved first

25      before we move on to whether or not the statute is inconsistent
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 12 of 81 12


1       with federal law.    This requires, of course, a determination of

2       the original public meaning of election day, which the Supreme

3       Court has advised courts to do in the Bostock opinion to

4       determine the original public meaning in 1845 and 1872 when

5       these statutes were enacted.      That means what a reasonable

6       reader, fully competent in the language, would've understood

7       election day to mean at the time enacted.          For this, the Court

8       has directed some of the text, the history and the precedent,

9       and the best we have here is, of course, common law practices

10      and the absence of practices that regulate the federal

11      government, federal elections that I have touched on, and then

12      also Foster v. Love.

13            Again, not only did the federal government not have

14      authority under common law to regulate federal elections, there

15      was no absentee right under common law, and certainly no

16      mailbox rule under federal law -- excuse me, under common law.

17      So there's no basis to reach to that to think that voters

18      would've assumed that ballots could be received or could've --

19      or voters could've relied on a receipt deadline or mailbox rule

20      to turn in their late ballots.

21            Defendants have not explained how after Congress reclaimed

22      this authority in 1845 and 1872 suddenly the states had

23      authority that didn't exist in common law to claw this back.

24      They somehow found the power after Congress exercised their

25      preliminary power, we think this makes it inconsistent.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 13 of 81 13


1             When states eventually enacted absentee voting and proxy

2       laws during the Civil War -- and to be clear, there's a lot of

3       mismatch in some of the analysis.       Absentee and proxy voting

4       laws are distinct from late-arriving ballot laws, right?             The

5       deadlines for receiving ballots or mailbox rule is distinct in

6       whether or not states have allowed absentee balloting.             But

7       even when they created absentee balloting during the Civil War,

8       the first statute in Pennsylvania was struck down, and they

9       created this fiction where they deputized malitia men to accept

10      ballots at the poll site in the middle of a war zone.             And

11      likewise, with proxy votings -- so in that sense a state

12      official is receiving the ballot, and they knew that they had

13      to be received.

14            And with respect to proxy voting practices, the public

15      knew that in some instances a voter and his vote could not be

16      in the same place at the same time, and they understood that

17      election day meant that the agent proxy had to show up at the

18      poll site and cast his principal's ballot, and so they would've

19      understood that.

20            Notably, most of all these Civil War practices and these

21      proxy voting practices in the 19th Century, as we stated in our

22      brief, were done away with.      They tinkered with it a little bit

23      in the late 19th century, but largely were done away with until

24      World War I came about.      And then, obviously, people were more

25      transient and moving and traveling more with the invention of
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 14 of 81 14


1       the widespread use of trains in World War I, and so they needed

2       that.   The historical authorities show that the enactment, the

3       public understood it was required to receive the ballot.

4             The public knew that their electoral choices did not

5       become a vote unless and until received by election officials.

6       So a bean vote, voters would express their choice by a bean;

7       they would express their choice by a voice vote; they would

8       express their choice by a ticket.       That is a meaningless

9       gesture up until the point that it's deposited with the state

10      election officials.      The analogy that I use privately with

11      colleagues is, you know, you can place an order for food, but

12      until you show up at the restaurant and tell them what you

13      want, that's just you saying I want a hamburger into the ether.

14      You have to actually -- somebody has to be there to receive it.

15      And so without that combined action, both citizens and

16      election, state election officials, no vote occurred.

17            Congress recently during the pendency of the Bost case

18      passed 3 U.S.C. 21.      In that context, the federal government is

19      ceding back to states their absolute authority over the timing

20      of federal elections.     In that case, under the text of that

21      statute and only in presidential elections, and a force majeure

22      event, can states change the period of voting.           And so we think

23      that's the best evidence as to what -- how it's inconsistent.

24      Obviously, there's other case rulings.         If I have a second, I

25      will get into that.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 15 of 81 15


1             I want to touch on a couple of other things that have been

2       played really prominently in these cases, and this is question

3       of the case of UOCAVA balloting, military votes.            I was at the

4       DOJ when the MOVE Act happened in 2009.         I was responsible for

5       enforcing it.    The MOVE Act only established that states -- it

6       used to be that states had to give ballots out in a reasonable

7       period, and that got to be too squishy.         So, basically,

8       Congress came in and said okay, 45 days, a hard 45-day

9       deadline.   Nothing about this -- nothing about this action

10      changes that.    States will still have to extend, or still have

11      to send ballots out within 45 days.        And the DOJ, when a state

12      fails to do that, can still come in and seek relief and ask a

13      federal court to extend ballot receipt deadlines to make sure

14      that these voters are accommodated with their rights under

15      UOCAVA.

16            This case is about whether or not the Mississippi

17      legislator has authority to send ballot receipt, not a question

18      of Congressional authority to extend ballot receipt and not a

19      question of Article III court's authority to extend ballot

20      receipt.    They plainly do.

21            There's one statute that gets confused, the Court in the

22      Seventh Circuit got confused with it or was uncertain about it,

23      and I wasn't really prepared for the question during the

24      argument, was 52 U.S.C. 20304(b)(1), which talks about the

25      Department of Defense's responsibilities in sending out
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24    Page 16 of 81 16


1       ballots.   And in that context, they say it needs to go out --

2       it must be received by the date ballots are due in order to be

3       counted by an election.       The Seventh Circuit took that or sort

4       of read that to mean, or a signal that they might read that to

5       mean that Congress knew the difference.          But what I was not

6       prepared at the time and I want to point out is that many

7       states, until recently, required absentee ballots to be due

8       before election day, and so that's really nothing telling.

9             I want to touch on a couple of the cases that constantly

10      and frequently appear, the Lance v. Coffman case out of

11      Colorado from the Supreme Court on standing.              That was clearly

12      a generalized grievance, basically taxpayer standing.               That

13      case involved a claim where the plaintiffs allege legislature

14      thereof provision of the Constitution was violated and that the

15      statutes were enacted by the wrong state organ.             That is a

16      generalized grievance.      There's no taxpayer standing.           We don't

17      have that here.

18            The Bognet case from the Third Circuit, which constantly

19      comes up, obviously it's vacated so it's not really of much

20      use, but let me just talk about the substance for a minute.

21      Footnote 9 of the Bognet case expressly disclaims the claims

22      we're making here.       It says this isn't a preemption claim.

23      That case was about whether or not the state supreme court was

24      the proper organ to adopt the timing regulation in

25      Pennsylvania.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 17 of 81 17


1             Here, we're not disputing that if anybody was going to

2       enact it, the Mississippi legislature would be the one to enact

3       it.   So that is a distinct case from here.         That was a

4       legislature thereof question, not necessarily an election day

5       question.    It gets confusing.

6             Another point in Bognet is the plaintiff there admitted

7       that the statute was otherwise legal.        So, you know, that would

8       be the equivalent of us saying that the election day statute

9       we're challenging here is otherwise legal.          Well, you can't

10      show a harm from the statute when you say it's otherwise legal.

11      So our injuries here are completely separate from the injuries

12      alleged there.

13            And I would note that in footnote 6 of filing 880, we

14      discussed the back and forth with the Supreme Court.            The

15      Bognet went up under several different names.            It was an

16      extensive fighting between the judges about whether or not to

17      grant cert on Bognet.     They had four votes for an emergency

18      cert petition, they needed five for the emergency context, so

19      it failed.    And then when it came back up under a regular cert

20      petition, it was post January 6, and they lost a couple of the

21      votes and so the case was never heard.

22            The Eleventh Circuit case that the Court may be aware of,

23      that relied on Bognet.     So Bognet has been vacated and

24      Raffensperger chiefly relied on it.        I would note that in that

25      case, the Eleventh Circuit, Judge Pryor noted that if the
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 18 of 81 18


1       plaintiff had been a candidate, he would've had standing.             And

2       we represent our candidates, we're here on behalf of our

3       candidates, we have a totally different injury.           And according

4       to what Justice Pryor says, we would've had standing in Wood v.

5       Raffensperger. With that, I reserve the balance of my time.

6                  THE COURT:    All right.     Let me ask you a couple of

7       questions, Mr. Nobile, if you don't mind.          Maybe some

8       elementary things that we can all agree on.          It is the

9       plaintiff here, plaintiffs here that bear the burden of

10      standing, showing standing, would that be accurate?

11                 MR. NOBILE:    Correct, Your Honor.

12                 THE COURT:    And what is that burden?

13                 MR. NOBILE:    I think it's more likely than not, I

14      believe.

15                 THE COURT:    A preponderance standard?

16                 MR. NOBILE:    Preponderance of the evidence, yes, Your

17      Honor.   Of course, we talked about this internally, we're at

18      the summary judgment stage, so we just need to show is there a

19      material question of fact of whether or not it happened, which

20      is based on the preponderance of evidence.          Given we're at the

21      summary judgment stage, that's what we settled on internally.

22                 THE COURT:    Now, do you hang your hat on

23      organizational standing, is that what you're telling the Court

24      that's the standing?

25                 MR. NOBILE:    I think it's absolute standing.          The
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 19 of 81 19


1       Benkiser case makes it clear that political parties are

2       different.    So we think this case or our injuries alleged in

3       what we have shown fits neatly within that.          We don't hang our

4       hat on that.    We think, you know, the Northern District of

5       Illinois to be, with all due respect, got it wrong on Bost.

6       We'll see if I am proven right in the Seventh Circuit.             The

7       Seventh Circuit law that the Northern District of Illinois

8       ignored said that candidates had standing.          Of course, in our

9       associational -- I am getting to our, I guess, associational

10      injuries are on behalf of our candidates, and so a candidate

11      would have standing.     We think, you know --

12                 THE COURT:    Do you think Bost was wrong on the

13      standing issue?

14                 MR. NOBILE:    Respectfully, yes, Your Honor.          We think

15      they ignored even controlling Seventh Circuit opinion.             It's

16      Trump v. Wisconsin, which cited Carson v. Simon.            We think we

17      get standing based on Carson v. Simon, both as an organization

18      and also based on our associational representation of our

19      candidate members.

20            And then, of course, we have two economic injuries, the

21      out-of-pocket expenses, which we detail in our opposition to

22      summary judgment where we show that we have incurred $1 -- I

23      mean, all we have to do is show $1.        And it's honestly hard to

24      imagine that you don't have at least $1 expense.            And then, of

25      course, there's the quasi diversion of resource issue that we
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 20 of 81 20


1       raise.   And I note that in Benkiser, together with the recent

2       ruling from the Supreme Court, the FDA -- and I am going to

3       butcher the case -- it's the FDA opinion that came out recently

4       about the abortion medication.      They talk about organizational

5       standing, and they talked about why that plaintiff failed to

6       have standing in that instance.         And it explained that the

7       organizational costs weren't really tied to its core business,

8       its core mission.    And if you read that together with Benkiser,

9       our core mission, my client's core mission is to get people

10      elected and to win elections and win political power.

11            The Fifth Circuit discussed the core business of a

12      political party in Benkiser.      So if you read what the Fifth

13      Circuit described in Benkiser and you apply it to what the

14      Supreme Court recently affirmed in the FDA ruling about two

15      weeks ago, we fit squarely within that.          Our job is to win

16      elections.    And then Carson v. Simon, I think this fits neatly

17      in there.

18            So we don't hang -- I wouldn't say we hang our hat on any

19      one, we think they're all very good.         The dilution claim has

20      gotten complex because courts have over-complicated it a little

21      bit, they have mixed, I think -- I think they have mixed the

22      dilution claim with the injury claim.         And in here, we're

23      saying there are invalid ballots coming in, which the Court has

24      to assume is right under the Supreme Court's direction.              So

25      we're saying two percent of the ballots coming in right now are
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 21 of 81 21


1       invalid, and that dilutes.      Does that mean we win?         That's

2       obviously not the basis for our win, but we do think dilution

3       is an intuitive injury.      There's a long history of the Supreme

4       Court recognizing dilution injuries.        We think there's been

5       some -- and even in Gill versus Whitford from Wisconsin in the

6       last five or seven years, the Supreme Court did not reject

7       dilution-based injuries.      They said in that case they didn't

8       have the adequate evidence and there was some other issues

9       going on in that case.     So we actually think that all six of

10      our claims are very good on injury.

11                 THE COURT:    All right.     If your argument on the

12      merits is correct, does that mean that every state that has a

13      regimen whereby they allow absentee voting, absentee votes to

14      be accepted after election day, does that mean that those

15      statutes are also invalid and inconsistent with federal law?

16                 MR. NOBILE:    Without having read all of them right

17      here, I would say probably, yes, Your Honor.             I mean, I think

18      so.

19                 THE COURT:    In view of that, is there any case

20      anywhere that has ruled in your favor insofar as that theory is

21      concerned?

22                 MR. NOBILE:    No, Your Honor.      But I will say no Court

23      has ruled on the original public meaning of election day, and

24      no Court has defined the range of conduct that the Supreme

25      Court claimed when it passed -- it reclaimed when it passed the
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24    Page 22 of 81 22


1       election day statutes.

2                   THE COURT:    Why do we have an election day?           Why do

3       we have a federal election day?

4                   MR. NOBILE:    Because Courts were confused, or

5       Congress was confused, or worried, I guess is a better way to

6       put it, that states were going to send their electors to

7       Congress.   And there is an exhibit, the Stonecash political

8       science article that I attached to the back of our second, or I

9       think document 80, could be wrong, Stonecash article from a

10      couple of political scientists that explained what happened

11      before election day or what precipitated it.              But largely,

12      states weren't sending their electors, and it was getting

13      worse.   And they were worried that if they couldn't elect a

14      president, the entire government would collapse.              So they set a

15      firm date on the president first in 1845 and then moved on, of

16      course, 30 years later to do the 1872 for Congressional.

17                  THE COURT:    And I presume we will all have the

18      opportunity to go and vote for a president on the first Tuesday

19      in November.    Is that when the president will be elected, on

20      that day?

21                  MR. NOBILE:    That is when the electors are chosen, so

22      your choice of the elector.       And of course, Mrs. Hanson was an

23      elector and will be again this fall.         So as a technical matter,

24      that's when you choose your elector, and then there's all the

25      back-end canvassing and certifications and all these different
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 23 of 81 23


1       things that go on up until the electors show up and vote.

2       Well, they vote in the capital building.         Excuse me, they vote

3       in their home capitals, and then those votes are counted up in

4       DC.

5                  THE COURT:    That doesn't happen on Tuesday?

6                  MR. NOBILE:    Correct, Your Honor.

7                  THE COURT:    First Tuesday in November.

8                  MR. NOBILE:    Yes.   Well, you know, otherwise, if you

9       are going to -- if that was going to become a part of the

10      electoral process from my analysis, that would mean all of that

11      stuff would have to be pulled forward, which would honestly be

12      a more burdensome position.      And I am not saying the Court is

13      advocating this, obviously, but that would be a more burdensome

14      position than even the things that we're alleging is a proper

15      rule.

16            We think that the ballot goes into the box, the ballot is

17      received, and then the counting continues, and it doesn't have

18      to be declared on election night.       We, of course, did not say

19      that the president needs to be declared by election night.

20      Obviously, people have different perspectives on whether or not

21      that should happen, but we don't think that's what the

22      historical practice has.      I could go on to different things I

23      have read in other contexts about how that was handled, but

24      historically they allowed some time after the election to

25      finalize it.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 24 of 81 24


1                  THE COURT:    One other thing I want you to clarify for

2       me.   Are you saying there's a difference between a direct

3       conflict with federal law and inconsistence?

4                  MR. NOBILE:    We believe there is, Your Honor.

5                  THE COURT:    Tell me what that -- seems to me that if

6       something is in direct conflict with something else, then it's

7       obviously inconsistent with it and vice versa.           So what is the

8       difference between those two standards?

9                  MR. NOBILE:    Well, we think direct is a higher

10      burden, is a higher proof to show preemption.            The Arizona

11      Inter Tribal case is a difficult case because it talks about

12      the NVRA statute, which is a difficult statute and honestly

13      puts a lot of people to sleep, including people like me that

14      deal with it.    You know, the Arizona law did not conflict with

15      the NVRA, and even the majority opinion recognized that in its

16      discussions.    It described yeah, it may not, but it's

17      inconsistent with it.     And you will read the -- I think there

18      was a dissent that explains that you can read them both in

19      harmony, and the majority opinion said that doesn't matter.                 Is

20      it inconsistent?    Is it within this territory of range of

21      conduct that Congress has restaked out for itself?            We think

22      directly conflict is a higher standard.         I don't know that I

23      have got an authority here, hopefully my co-plaintiff does that

24      shows exactly how to measure that difference, but we think

25      directly conflict is a higher standard.         And I don't know why,
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 25 of 81 25


1       I will be interested to hear everyone else's position on why

2       that still controls after Arizona Inter Tribal, but, of course,

3       it has not been ruled on by the Fifth Circuit yet.

4                  THE COURT:    Okay.   And I don't want to pick on you

5       too much, but I have -- I had the pleasure of listening to the

6       oral arguments at the Seventh Circuit, I think you were there.

7                  MR. NOBILE:    I was, Your Honor.

8                  THE COURT:    At the conclusion of all of the arguments

9       and the questions that were asked by the judges at the Seventh

10      Circuit, how did you feel about your standing issue?

11                 MR. NOBILE:    You know, it's hard to say.         I felt

12      pretty good about standing going in and coming out.            And we

13      think, you know, up until 2020, I don't think there really has

14      ever been a district court ruling that ever said a federal

15      candidate didn't have Article III standing or an Article III

16      injury to challenge a state regulation relating to the time,

17      place and manner of his election.       There may be something out

18      there I have missed in the 20 years I have been doing election

19      law, I haven't seen it.      And it was very unusual.        And Trump v.

20      Wisconsin was spot on, Carson v. Simon, and it was controlling

21      in the Seventh Circuit.      That's exactly the injury we alleged.

22      I don't quite know why the Northern District of Illinois didn't

23      follow it, but it was the controlling law there.

24                 THE COURT:    Thank you.

25                 MR. WOODFIN:    Good afternoon, Your Honor.         Conor
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 26 of 81 26


1       Woodfin for the Republican Party plaintiffs.             I'd like to

2       reserve five minutes for rebuttal, please.

3             I am going to start by addressing the standing of the

4       Republican Party plaintiffs and then I will turn to the merits.

5       We have all sorts of bases for standing.         Parties, candidates,

6       organizations and voters have all sued under the election day

7       statutes and courts have adjudicated those disputes on the

8       merits.   We have all of those parties here and more.            But you

9       only need to agree with us on one of those parties to reach the

10      merits.

11            So I will start with organizational standing.            We think

12      this is the simplist path to finding standing in this case, but

13      I will provide a few more bases as well.         My colleague brought

14      up Alliance for Hippocratic Medicine.        I will start there,

15      that's a recent Supreme Court case on this issue.             It really

16      just confirms the reasoning for organizational standing.               It

17      doesn't change the standard for organizational standing, simply

18      reaffirms what the Court had previously held in Havens, that

19      when an organization diverts resources it must show that the

20      diversion of resources that is incurred from the action they

21      challenge is harming its core mission.         That's the Fifth

22      Circuit's standard in the cases applying to Havens, and so we

23      think all of this is consistent, and all of this is in our

24      declarations.

25            The mission of the RNC and the Mississippi Republican
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24   Page 27 of 81 27


1       Party is to elect republican candidates and to turn out

2       republican voters.       Extending the time that ballots are

3       accepted necessarily imposes burdens on committees and on

4       candidates who in order to achieve their goals of electing

5       republican candidates and turning out voters must continue

6       their electoral efforts beyond election day.

7             So we have provided two concrete examples of how the

8       Republican Party is incurring those costs to prevent the harms

9       to their core missions as a result of this post-election-day

10      rule.   The first is the ballot chase programs.           The RNC and

11      Mississippi Republican Party run programs, contact voters to

12      encourage them to turn in their mailed ballots.            Prolonging the

13      receipt time for absentee ballots necessarily requires them to

14      run those programs longer and that harms their core mission by

15      causing them to divert resources from other mission-critical

16      activities.

17            The second concrete example we provide is poll watching.

18      Again, extending the time for ballots to come in necessarily

19      requires the Republican Party to divert resources to training,

20      for post-election-day observation, challenges, preparation of

21      materials, securing additional volunteer time.            All of this

22      requires them to divert resources away from other election

23      integrity efforts, other voter turnout efforts, in-person

24      turnout efforts.    That all satisfies the Alliance for

25      Hippocratic Medicine's test, the test under Havens, the Fifth
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 28 of 81 28


1       Circuit's test.    All of these cases say the same thing.           The

2       declarations show concrete examples of how that diversion is

3       harming the core mission of the RNC and the Mississippi

4       Republican Party.

5             The two best cases on this from the Fifth Circuit are

6       Benkiser and Acorn.      Both are still good law, applied in

7       Havens.   The Democratic Party had standing in Benkiser to

8       challenge the removal of a republican candidate from the ballot

9       because they said they would have to spend more money reworking

10      their campaign.    And that was true even though the Democratic

11      Party's normal operations were running a campaign.            That is the

12      definition of the normal operations of any political party.                 So

13      it didn't matter that that was a part of their business

14      activity, it was the fact they would have to spend more money

15      in a way that harmed their mission to elect democratic

16      candidates that gave them organizational standing.

17            Again, in Acorn, the voter registration group had standing

18      because it had to spend more money on voter registration

19      efforts in a way that made their mission to register voters

20      less effective; that impedes their mission.

21            A second independent basis for standing in this case is

22      competitive standing.     Again here, Benkiser is directly on

23      point.    As the Fifth Circuit explained, voluminous authority

24      shows that candidates and parties suffer a concrete injury when

25      their chances of victory would be reduced.
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24   Page 29 of 81 29


1             The defendants argue that we must show that republican

2       candidates will lose the election due to late-arriving ballots,

3       but Benkiser forecloses that argument.          The Texas Democratic

4       Party did not need to show that they would lose the upcoming

5       election, it was simply enough that their chances of victory

6       would be reduced.

7             We also don't need to show that late-arriving ballots will

8       favor democrats, although we do have evidence of that.              It is

9       enough that late-arriving ballots forces the republican

10      plaintiffs to rework their programs in a way that damages their

11      electoral efforts.       That is what produces the competitive

12      injury.   It makes it less likely that their efforts will be

13      successful.    That's enough under Benkiser, it's enough under

14      Carson versus Simon from the Eighth Circuit, and it satisfies

15      competitive standing here.

16            A third independent basis is voter dilution.            Voter

17      dilution is a well-established injury in redistricting cases,

18      but there's no principled way to say that vote dilution is a

19      particularized injury in redistricting cases, but a generalized

20      injury here.    And that's because the mathematical disadvantage

21      that the Supreme Court described in the vote dilution cases in

22      redistricting context, the mathematical disadvantage and the

23      effectiveness of their vote is the basis for standing, basis

24      for injury in the redistricting context, that's the same injury

25      that's present here.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 30 of 81 30


1             Courts that have rejected vote dilution as a theory of

2       standing rejected a version of it that we don't rely on here.

3       Those cases ruled that the risk of fraudulent votes is a

4       speculative injury that's generalized.         We don't rely on the

5       risk of fraud to dilute the votes.        As Mr. Nobile said, it's

6       the fact that all of the votes that come in late are invalid as

7       a matter under the merits that dilutes the votes.            And so for

8       that reason, the vote dilution necessarily occurs, it's not

9       merely a risk of it occurring.      It will occur if Mississippi

10      enforces the law that we challenge, and so that distinguishes

11      those vote dilution cases that got it wrong.

12            The fourth independent basis for standing is conscience

13      injuries.   Again, here I will return to Alliance for

14      Hippocratic Medicine because it has a nice explanation of

15      conscience injuries and what criteria satisfies them.             So in

16      that case, doctors asserted a conscience-based injury based on

17      a fear that they would have to provide abortions in a way that

18      violated their conscience.      And the Supreme Court said that a

19      conscience injury is a valid Article III injury, and the

20      government even conceded that point in the case.            The reason it

21      held that the doctors did not have standing under their

22      conscience-based injury was because a separate federal law

23      provided an exception for their conscience objections.             So if

24      they had this conscience-based injury, federal law provided

25      them an out.    They did not have to take part in the act that
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 31 of 81 31


1       violated their conscience.      Mr. Lamb here does not have the

2       out.   He is responsible for running the county's general and

3       special elections, which means he must choose between enforcing

4       Mississippi's post-election-day deadline or enforcing the

5       federal election-day deadline.      He has taken an oath to both

6       constitutions.    He cannot apply one standard without violating

7       the other.    So he does not have the out that was present to the

8       doctors in Alliance for Hippocratic Medicine.

9              And the Supreme Court actually provided a nice roadmap for

10      what constitutes a conscious-based injury.          It said -- in that

11      case the doctors did not say, here is the treatment I provided,

12      here is how it violated my conscience, and here is why

13      conscience protections were unavailable to me.           Mr. Lamb has

14      provided those in his declaration.        He said, here are the

15      actions I must take under Mississippi law, here is how it has

16      violated my conscience by forcing me to violate my oaths.             And

17      there's no conscience protection available to him under the

18      Fifth Circuit standard.      The only remedy for him is a judicial

19      invalidation of the state law that would obviate his concerns.

20      That's the standard under City of El Cenizo versus Texas in the

21      Fifth Circuit, and that's the injunction we're requesting here.

22             So just to wrap up standing, any one of those four bases

23      is sufficient because only one plaintiff needs standing for

24      each claim asserted in the complaint.        So as long as you agree

25      with us on at least one of those, then you can reach the
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24   Page 32 of 81 32


1       merits.

2             So turning to the merits, Mr. Nobile has addressed the

3       history, I will focus my remarks on the text and structure of

4       the election day statutes.       But our argument is really quite

5       simple, I can sum it up in two premises.          The first is an

6       election is consummated when the final ballot is received by

7       the proper election official.

8             The second premise is that federal law prohibits an

9       election from being consummated after election day.             So if you

10      accept both of those premises, then the conclusion must follow

11      by counting ballots that are received after election day

12      Mississippi is violating federal law.

13            So I will return to the first premise, which is really the

14      substance of the disagreement in this case, that an election is

15      consummated when the final ballot is received by the proper

16      election official.       This just comes right from Foster.         The

17      Supreme Court said, when the federal statutes speak of the

18      election of a senator or representative, they plainly refer to

19      the combined actions of voters and officials meant to make a

20      final selection of an officeholder.         So only once the ballot is

21      in the custody of an election official has that final selection

22      occurred.   And note that it's the combined action of voters and

23      election officials.      It's not the voters' unilateral action of

24      filling out a ballot, of marking a ballot, of putting a ballot

25      in the mailbox, or of giving a ballot to their mom to take to
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 33 of 81 33


1       the election office.     Those are unilateral actions, they are

2       not the combined actions of the election official and the

3       voter.   It's also not the unilateral actions of the election

4       officials on the back end, counting ballots, tabulating

5       ballots, resolving ballot disputes, certifying the election.

6       Those are not combined actions, those are unilateral actions by

7       the election officials.      The only moment in the election, that

8       is the combined action of voters and election officials, is

9       depositing the ballot into the custody of the election

10      officials.    That moment is the election.

11            One of the best explanations of this principle comes from

12      the Supreme Court of Montana in Maddox.         We cited this case in

13      our brief, but it contains quite an extensive discussion of

14      what it means to transfer a ballot to an election official.

15      And the Supreme Court said, a ballot is cast when it is in the

16      custody of election officials.      So whether you frame this as

17      receipt or casting a ballot, or custody, or transfer, or final

18      selection, all of these words mean the same thing, it's giving

19      the ballot from the voter to the election official, that's the

20      moment when the election is consummated.

21            So the second point on this is statutory context.            This

22      informs the meaning of election day that's in the statutes

23      because Congress carved out exceptions to holding an election

24      on election day.    The exceptions Congress needed to spell out

25      and the ones it didn't spell out tell us exactly what actions
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 34 of 81 34


1       amount to an election.     So for example, states can conduct

2       elections outside of election day for runoffs and for

3       vacancies.    Congress didn't carve out exceptions for counting

4       ballots or certifying results.      Those actions are not part of

5       conducting the election, or they're not part of the moment of

6       election, more precisely.

7             And another good explanation of these exceptions is

8       actually the Fifth Circuit's opinion in Foster that the Supreme

9       Court ended up taking and affirming.        It contains a discussion

10      of why these exceptions matter in deciding, determining the

11      meaning of election day.      So that's the first premise, an

12      election is consummated when the final ballot is received by

13      the proper election official.

14            The second premise is that the election day statutes

15      prohibit an election from being consummated on election day.

16      Foster says that the election day statutes prohibits states

17      from consummating an election before election day.            And the

18      defendants, throughout their brief, seem to imply that that's

19      the only thing it means, that the election day statutes can't

20      mean anything about what happens after election day.            That just

21      makes no sense.    I think the defendants would have to concede

22      that if Mississippi opened up polling booths on the Wednesday

23      after election Tuesday and allowed voters to walk in and cast

24      their votes that that would violate the election day statutes.

25      These statutes in Foster apply just as well to what happens
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 35 of 81 35


1       after election day as before election day.          There's no

2       principled way to distinguish between those two actions.             The

3       only principle transition that constitutes the moment of an

4       election is when the ballots go from the voter to the custody

5       and control of the election officials.         So if you accept both

6       of those premises, then the conclusion must follow by counting

7       ballots that are received by election officials after election

8       day, Mississippi is violating federal law.

9             With that, I will just conclude, and I will reserve the

10      balance of my time.      But I am happy to answer any questions you

11      have for me.

12                 THE COURT:    Do you agree with Mr. Nobile that there's

13      a difference between the standard that the Supreme Court

14      applied, that is the inconsistency standard with the direct

15      conflict standard?

16                 MR. WOODFIN:    We agree that the correct standard is

17      inconsistent.    As you're writing the opinion, that's the

18      correct case to cite for the standard.         But as a practical

19      matter, we think these are reconcilable, they all say the same

20      thing.   The question is really that first premise that I laid

21      out, is an election -- does election mean giving the ballots to

22      the election officials?      If it does, then there is a direct

23      conflict, that's the necessary conclusion.

24            And so -- actually, one of the best ways to, I think,

25      frame this is Judge Dennis' dissent in Foster at the Fifth
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 36 of 81 36


1       Circuit.    So he said there's no direct conflict because the

2       election day statutes say nothing about open primaries.

3       They're totally silent on open primaries.          That was an argument

4       made in that case, and that's an argument made in this case,

5       that the election day statutes are completely silent about when

6       absentee ballots can come in.      The Fifth Circuit rejected that

7       argument, the Supreme Court unanimously rejected that argument,

8       and that's because the real dispute is over the meaning of an

9       election.

10            So the Supreme Court never -- it didn't bother the Supreme

11      Court that the election day statutes are silent about open

12      primaries, it shouldn't bother you that the election day

13      statutes don't say anything explicitly about absentee ballots,

14      it's all in the meaning of an election.         That's what the

15      Supreme Court said in Foster, it's what the Fifth Circuit said

16      in Foster and was affirmed, and that's what we're saying here.

17                  THE COURT:   Now I am going to jump back a little bit

18      insofar as standing is concerned.       I may be wrong on this, you

19      correct me, I don't think our colleague in the Seventh Circuit

20      had the benefit of an organization as a plaintiff, am I right

21      on that, in the Bost case, there were only individuals and

22      candidates?

23                  MR. WOODFIN:   Bost, I believe, was only individuals.

24      Mr. Nobile can correct me if I am wrong.

25                  THE COURT:   I think that's right.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 37 of 81 37


1                  MR. WOODFIN:    It was candidates, specifically.           So I

2       am not sure that -- I don't think an organizational standing

3       was at issue.

4                  THE COURT:    I don't think that was argued.          Go ahead,

5       Mr. Nobile.

6                  MR. NOBILE:    That's correct, it was just candidates

7       and voters.

8                  THE COURT:    But there was no organizational standing

9       argued at the District Court or at the Seventh Circuit level?

10                 MR. NOBILE:    Correct.

11                 THE COURT:    Now I just confused myself.          Let me jump

12      back again.    So what you're telling me is that absentee ballots

13      are okay if they are received on election day and are counted

14      on election day.    What about absentee ballots that are cast

15      before election day?     That's not election day.

16                 MR. WOODFIN:    Yeah, that's totally fine.          That's

17      Kiesling, the Ninth Circuit's opinion there.             Of course, the

18      Fifth Circuit upheld early voting in Bomer.          Nothing about the

19      rule that we are advocating here calls into question absentee

20      voting in general or early voting because that is not the final

21      selection.    And that is the key point in Foster, that when you

22      have voters who are casting ballots 10 days, 20 days before an

23      election, that's not yet the final selection.            The final

24      selection occurs when the last ballot is transferred to the

25      custody of the election officials.        That is the moment the
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 38 of 81 38


1       election itself is consummated.

2                  THE COURT:    I guess there's the rub.         What does it

3       mean, or is there a case that tells us what it means for the

4       election officials to possess or to have received the ballot?

5                  MR. WOODFIN:    So Maddox from the Supreme Court of

6       Montana is the most on point here.        It specifically addressed

7       that question.    So it said, casting a ballot means, not merely

8       filling it out or putting it in the mailbox.             It means giving

9       it to the election official, transferring it to the custody of

10      the election official.     And I will note, they are applying the

11      election day statutes in that case.        They cited 3 U.S.C.

12      Section 1.

13                 THE COURT:    What about the argument that once you

14      place something in the mail you cannot take it back.             It is

15      constructively in the possession of the person that you intend

16      to receive it.

17                 MR. WOODFIN:    It is constructively in the possession

18      of the U.S. Postal Service.      It is not in the possession of the

19      state election officials.      If the U.S. Postal Service fails to

20      deliver, and this happens, if they fail to deliver it to the

21      election officials that ballot is not going to be counted, it's

22      not appropriately cast, as the Supreme Court of Montana says.

23      And that's different.     I know Mississippi doesn't have

24      drop-boxes.    That's different than maybe a drop-box that is

25      actually in the custody of the election officials.             So that is
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 39 of 81 39


1       the key distinction, is the ballot in the custody and control

2       of the election officials.

3                  THE COURT:    All right.     Fair enough.     Thank you.

4                  MR. DODGE:    Your Honor, I apologize for the

5       interruption.    If I might be excused from the courtroom for two

6       minutes?

7                  THE COURT:    But of course.

8                  MR. DODGE:    Thank you.

9                  MR. SHANNON:    May it please the Court.         Good

10      afternoon, Your Honor.     Rex Shannon with the Mississippi

11      Attorney General's Office.      I am here with my co-counsel,

12      Wilson Minor, on behalf of the sole state defendant in the

13      case, Secretary of State Michael Watson.

14            Your Honor, the pending cross-motions for summary judgment

15      have been extensively briefed.      All of the Secretary's

16      arguments are set out in detail in his papers.           Given the time

17      constraints here today, I will not attempt to cover every

18      argument that is presented in the six filed briefs filed by the

19      Secretary, but I will focus on what the Secretary believes are

20      the key points in deciding these motions.

21            In a nutshell, Your Honor, the Secretary submits that both

22      of these cases should be dismissed for lack of standing.

23      Alternatively, Your Honor, all three of the claims asserted by

24      these plaintiffs fail on the merits, and the Court should grant

25      summary judgment for the defendants in both of these cases.
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24    Page 40 of 81 40


1             By way of background, as I am sure the Court appreciates

2       at this point, the only Mississippi law being challenged in

3       either of these lawsuits is Mississippi Code Section 23-15-637,

4       and it's only subsection (1)(a) that's being challenged.

5             Your Honor, that is Mississippi statute governing the

6       deadline for receipt of mail-in absentee ballots in most state

7       and federal elections.     In response to the COVID-19 pandemic in

8       2020, the legislature amended that statute to provide that

9       mail-in absentee ballots would be counted in state and federal

10      elections provided that two things occurred:              Number 1, that

11      the ballot is postmarked on or before election day; and number

12      2, that they are received by the registrar no more than five

13      business days after election day.

14            State law further provides, Your Honor, that any mail-in

15      absentee ballot received after that time period will not be

16      opened and will not be counted.         Your Honor, the sole merits

17      issue before this Court is whether the five business day

18      counting period violates federal law.

19            Your Honor, before we get to the merits, Secretary Watson

20      submits at the outset that this Court need not even reach the

21      merits because none of these plaintiffs have standing to

22      challenge this statute.      Your Honor, it is settled law in the

23      Fifth Circuit that when the defendant moves for summary

24      judgment on standing, the plaintiff must present competent

25      summary judgment evidence to establish standing.              Standing is
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 41 of 81 41


1       jurisdictional.    Your Honor, even under the Rule 12(b)(1)

2       standard the burden of establishing subject matter

3       jurisdiction, including standing, is always on the plaintiff,

4       and I don't believe these attorneys here today for the

5       plaintiffs have disputed that.      Your Honor, the plaintiffs have

6       not met that burden here.      I heard some discussion earlier

7       about something referred to as intuitive standing.            I have

8       never seen that in the case law that I am aware of, Your Honor.

9       All of the cases that I am aware of say that the plaintiff has

10      the burden to present evidence of specific concrete and

11      particularized injury in fact under the Lujan line of cases to

12      establish Article III standing.

13            Your Honor, the only two individual plaintiffs in these

14      cases are James Perry and Matthew Lamb.         As we have set out in

15      our briefs, both of these men merely assert a generalized

16      grievance.    They don't establish any specific personal harms.

17      Your Honor, under Lance v. Coffman, 549 U.S. 437, these two

18      individuals have not made the requisite showing to establish

19      standing by virtue of any alleged violation of federal law.

20      Their allegations of vote dilution have likewise been held to

21      be too speculative and too generalized to confer standing.             We

22      have cited recent federal cases from Illinois, from North

23      Carolina and from Wisconsin, all of which rejected this same

24      theory of vote dilution as a basis for Article III standing in

25      the same or similar context.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 42 of 81 42


1             Additionally Your Honor, neither of these individual

2       plaintiffs have shown that any alleged injury is certainly

3       impending.    As to Mr. Perry, Your Honor, the RNC plaintiffs

4       didn't mention him anywhere at all in their response to the

5       Secretary's motion for summary judgment.         Your Honor, since the

6       law says that cross motions for summary judgment must be

7       considered independently, the Secretary submits that the

8       plaintiffs have abandoned any claim of standing as to

9       Mr. Perry.

10            Your Honor, as to Mr. Lamb, he argues that he will face

11      the prospect of removal from office as a George County election

12      commissioner if he doesn't comply with the Mississippi statute.

13      Your Honor, as we set out in detail in our briefs, and I won't

14      recite the whole lengthy process, there is a very lengthy and

15      uncertain legal process for removing him from office that is

16      far too attenuated to constitute imminent harm sufficient to

17      establish standing.

18            Your Honor, I heard some discussion earlier about a

19      conscience-based injury on the basis that Mr. Lamb doesn't want

20      to violate his oath.     Your Honor, we would submit he doesn't

21      have a moral objection, he has a legal objection.            There's been

22      no evidence here to present any showing of a concrete specific

23      injury that he will experience if he follows one law and not

24      the other.    Again, that process is set out in detail, the

25      process for removal from office, and it is lengthy and very
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 43 of 81 43


1       uncertain and speculative.

2             Your Honor, the other plaintiffs in these lawsuits are

3       political parties, they have likewise to establish both

4       associational and organizational standing.          Your Honor, for all

5       the reasons that Mr. Perry and Mr. Lamb lack standing, the

6       political party plaintiffs lack associational standing.             These

7       will be their members and voters and candidates.

8             To highlight the additional points on associational

9       standing, the RNC plaintiffs have not produced any evidence

10      that the counting of mail-in ballots, absentee ballots, in the

11      five business day period after election day has harmed or will

12      harm the electoral prospects of a single republican candidate

13      for federal office on the ballot in Mississippi.

14            Your Honor, this court may take judicial notice that

15      President Trump won Mississippi's electoral votes in 2020, and

16      that all but one of the remaining federal offices in

17      Mississippi are held by republicans.        The sole remaining

18      federal office is held by Congressman Benny Thompson, a

19      democrat.   Your Honor, there's no evidence in this record to

20      show that any election for president or for Congress would have

21      resulted or will result in a different outcome in Mississippi

22      but for the counting of mail-in ballots in that five business

23      day mail in period after election day.

24            Relatedly Your Honor, there's no evidence in this record

25      to show that the Mississippi statute diminishes republican
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 44 of 81 44


1       voters' political effectiveness in Mississippi.           Same goes for

2       the Libertarian Party, Your Honor.        It hasn't shown that any of

3       its candidates might win a federal election in Mississippi if

4       enforcement of the Mississippi law is enjoined.

5             Your Honor, as the record bears out, mail-in absentee

6       ballots received within that five business day period after

7       election day represent, by all indications, a very small

8       percentage of the total vote in any federal election in

9       Mississippi, certainly not enough to change the outcome of any

10      federal election in this state.

11            Your Honor, as to organizational standing, the key point

12      there, Your Honor, is that neither of the political party

13      plaintiffs has shown any alleged diversion of resources, that

14      any alleged diversion of resources perceptively impairs its

15      ability to achieve its mission in Mississippi.           That's the

16      showing they have to make under the cases we cited.

17            Your Honor, there's no competent summary judgment evidence

18      in this record to show that the Mississippi statute has caused

19      either of these political parties to be less effective in

20      carrying out its mission in Mississippi than it was prior to

21      2020 when the challenged language was added to the statute.

22      Nor is there any evidence in this record to substantiate any

23      alleged voter fraud in Mississippi tied to the challenge

24      statute or otherwise.

25            Your Honor, to the extent these plaintiffs argue for
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 45 of 81 45


1       standing under the Benkiser or the Carson case, neither of

2       those cases are applicable here.        And I won't get into the

3       details on that, we have distinguished those at length in our

4       briefing, other than to say Benkiser involved specific alleged

5       harms to a specific candidate caused by an opposing political

6       party specific candidate.      That's not what we have here.

7             Your Honor, for the reasons I have discussed and those set

8       out in our papers, the Secretary of State submits that all of

9       these plaintiffs lack Article III standing and that these cases

10      should accordingly be dismissed for lack of subject matter

11      jurisdiction, and thus the Court need not even reach the merits

12      of these cases.    Your Honor, turning now to the merits.

13            Shifting gears, I'd like to focus on the plaintiffs'

14      principal claim that the Mississippi statute is preempted by

15      federal election law.     Your Honor, the U.S. Supreme Court has

16      held that states are given and, in fact, exercise wide

17      discretion in establishing the time, the place and the manner

18      of electing their federal representatives.          That's United

19      States v. Classic, 313 U.S. 299.

20            Your Honor, the Fifth Circuit has held that the state's

21      discretion is bounded by, "only one limitation, the state

22      system cannot directly conflict with federal election laws on

23      the subject."    That's Voting Integrity Project, Inc., v. Bomer,

24      199 F.3d 773.

25            Your Honor, we agree that the direct conflict standard is
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 46 of 81 46


1       higher than mere inconsistency.         To give an example, direct

2       conflict would be yes versus no; mere inconsistency, yes versus

3       maybe.   Your Honor, the general rule in federal conflict

4       preemption is there has got to be a direct conflict between

5       state and federal law for federal law to preempt the state law.

6       And we believe that is consistent with what the Fifth Circuit

7       said in the Bomer case related specifically to the issue before

8       the Court today in terms of these federal election statutes.

9             Your Honor, the Mississippi statute does not directly

10      conflict with federal election laws.         Over the years, Your

11      Honor, the Supreme Court has defined the term "election" in

12      different yet similar ways.      Your Honor, in the Newberry case

13      that is cited in our papers, election is defined as the final

14      choice of a federal officer by the voters.           And the Classic

15      case that I mentioned a moment ago, election is defined as the

16      expression of the voters of their choice of candidates.              In the

17      1997 case of Foster v. Love, it's defined as, "the combined

18      actions of voters and officials meant to make a final selection

19      of an officeholder."

20            Your Honor, the Mississippi statute generally comports

21      with these definitions and is facially compatible with the

22      federal election statutes.      Once the voter deposits an absentee

23      ballot in the mail, Your Honor, that ballot has been

24      irretrievably cast and that voter has thereby expressed his or

25      her final choice in the selection of candidates for that
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 47 of 81 47


1       election.

2              Your Honor, I would say this about the finality and the

3       consequential nature of depositing something in the mail.              I

4       heard it being compared to ordering fast food and placing an

5       order for fast food.     Your Honor, I don't think those two

6       things are analogous.     Deposition an item in the mail is a much

7       more consequential action than ordering food.            Just to give

8       some examples, I would cite the mailbox rule from insurance

9       law.   An insurance policy in Mississippi, as I recall, is

10      deemed renewed once the premium is deposited in the mail.              So

11      there's a legal consequence and a presumption of receipt

12      attached to depositing that premium in the mail.

13             Same thing, my colleague Mr. Minor reminded me before we

14      had ECF filing.    We would serve papers under Rule 5 in the mail

15      and there was a presumption that service had been effected once

16      those papers were deposited in the mail.         Nobody had to follow

17      up to make sure somebody got something.         That certificate of

18      service was signed and it was put in the mail and it was

19      served.

20             Your Honor, I think the Court was correct earlier when it

21      mentioned constructive possession framework.             And I would say

22      that to the extent there's any question here about what the

23      action of the registrar is in terms of accepting the vote, it

24      is the presumption of receipt that the statute contemplates by

25      the registrar of the mail-in absentee ballot within that time
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 48 of 81 48


1       period.

2             Your Honor, by counting only those ballots that are

3       postmarked on election day, the Secretary submits that the

4       Mississippi statute complies with federal law, regardless of

5       what one may think of the policy underpinnings of the statute.

6       The bottom line here is that the Mississippi statute does not

7       directly conflict with federal election statutes, Your Honor.

8       Instead, it operates harmoniously with federal election law.

9             The legality of the Mississippi statute is further

10      supported by congressional acquiescence by comparable federal

11      statutes and by legislative history.        One thing, Your Honor,

12      many other states, likewise, have post-election-day absentee

13      ballot receipt deadlines.      Congress is aware of this, there's

14      no question about that, yet it has never stepped in to alter

15      the rules.    Additionally, Your Honor, there are also federal

16      laws we have heard of today that allow for post-election-day

17      receipt of ballots.      For instance, the UOCAVA law that we have

18      talked about allows for the post-election-day counting of

19      ballots received from Americans living overseas, including

20      members of the U.S. military.

21            And finally, Your Honor, legislative history indicates

22      that Congress wanted a uniform election day for three reasons:

23      Number 1, to prevent early elections in some states from unduly

24      influencing voters voting later in other states; number 2, to

25      prevent fraudulent voting in multiple state elections; and
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 49 of 81 49


1       number 3, to remove the burden of voting in more than one

2       federal election in a given year.

3             Your Honor, the Mississippi statute does not stand as an

4       obstacle to accomplishing any of these congressional

5       objectives, nor does it implicate the congressional concern

6       that states would not send their electors to Washington.

7             Your Honor, the plaintiffs' preemption claim in both of

8       these cases is predicated almost exclusively on what the

9       Secretary submits is a tortured reading of the U.S. Supreme

10      Court's opinion in Foster v. Love.        Your Honor, at bottom,

11      that's the case they have tried to build their principal claim

12      around, but it doesn't work here because Foster doesn't go as

13      far as the plaintiffs need it to go, and its holding doesn't

14      speak to the issue at hand at all.

15            Your Honor, in Foster, the Supreme Court held that

16      Louisiana's open primary system violated federal election

17      statutes because it permitted the conclusion of a congressional

18      election before the election day chosen by Congress.            The

19      Foster Court was concerned with preventing what the Fifth

20      Circuit has called the, quote, two primary evils identified by

21      congress as reasons for passing these federal election statutes

22      in the first place.      One being the risk that an early election

23      in one state could influence voting in later states, and the

24      other being the burden on citizens who are forced to turn out

25      on two different election days to make a final selection of
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 50 of 81 50


1       federal officers in presidential election years.            Your Honor,

2       the narrow holding of Foster was only that a federal election

3       cannot be consummated before election day because that would

4       foster these two so-called evils that Congress was worried

5       about.   Your Honor, the Supreme Court in Foster took great care

6       to limit its holding to the facts of that case, which did not

7       involve post-election-day counting of mail-in absentee ballots

8       postmarked by election day.

9             Your Honor, the Supreme Court in Foster expressly declined

10      to, quote, pair the term election down to its definitional

11      bone, end quote.    And the Court expressly left, "room for

12      argument about just what may constitute the final act of

13      selection within the meaning of the law."

14            Your Honor, the Fifth Circuit in the Bomer case that I

15      mentioned has reiterated that the Supreme Court in Foster

16      refused to give a hypertechnical meaning to the term

17      "election."    Your Honor Foster's narrow holding does not

18      establish a direct conflict between the Mississippi statute and

19      the federal law, particularly when it's read in conjunction

20      with the Newberry case and the Classic case.

21            Your Honor, in addition to Foster, the Libertarian Party

22      in its briefing cited the Inter Tribal case for the

23      proposition.    And I think Mr. Nobile mentioned it here today,

24      that federal election law necessarily displaced Mississippi's

25      authority to extend the ballot receipt deadline past election
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 51 of 81 51


1       day.   But Your Honor, all the Inter Tribal case says is that

2       the preemptive sweep of federal election statutes goes no

3       further than the statutory text of those statutes.            We believe

4       that is totally consistent with the Fifth Circuit's holding in

5       Bomer, and that the only limitation on states in this arena is

6       that state law not directly conflict with federal law.             Thus,

7       Your Honor, the Inter Tribal case does no harm to the

8       Mississippi statute.

9              In fact, Your Honor these plaintiffs have not cited a

10      single controlling authority holding that post-election-day

11      counting of mail-in absentee ballots postmarked by election day

12      conflicts with federal election statutes.

13             Your Honor, as to the plaintiffs remaining constitutional

14      claims evoking the right to vote and a right to stand for

15      office, the RNC plaintiffs, we submit, have abandoned those

16      claims which are not addressed at all in their response to the

17      Secretary's Motion for Summary Judgment.         The Libertarian Party

18      gave short shrift to those claims in their response to the

19      Secretary's motion.      Your Honor, Secretary Watson's arguments

20      on both claims are well presented in their briefs.            Given the

21      time constraints, I won't belabor the Court with the discussion

22      of those arguments today, except to say that the Secretary

23      stands on his briefs as to those claims and seeks summary

24      judgment across the board in both cases.

25             Your Honor, in conclusion, none of these plaintiffs has
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 52 of 81 52


1       established Article III standing to file these lawsuits, and

2       the Secretary submits that this Court should dismiss both

3       complaints without ever reaching the merits.             And Your Honor,

4       even if the Court decides that it has subject matter

5       jurisdiction here, all of these plaintiffs' claims fail on the

6       merits.

7             Again, Your Honor, whatever one may think of the policy

8       embodied in the Mississippi statute, it does not violate

9       federal statutory law governing federal elections, nor does it

10      violate the U.S. Constitution.

11            Your Honor, for all the reasons I have discussed and those

12      set forth in the Secretary's six filed briefs, Secretary of

13      State Michael Watson respectfully requests that the Court would

14      dismiss both complaints for lack of standing, and hence lack of

15      subject matter jurisdiction.

16            Alternatively, Your Honor, Secretary Watson would

17      respectfully requests the Court grant him summary judgment on

18      all claims, thereby disposing of both cases in their entirety

19      with prejudice, Your Honor.      Thank you.

20                 THE COURT:    A couple of questions, primarily on the

21      standing issue.    Do you tend to agree with counsel for the

22      plaintiffs that it is not necessary for all of the plaintiffs

23      to demonstrate standing or for them to substantiate or to prove

24      every theory of standing, that one would be sufficient?

25                 MR. SHANNON:    I will say this, as to each plaintiff,
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 53 of 81 53


1       each plaintiff must individually establish standing.            I think

2       the law is clear that standing is not established en gros.             It

3       has to be established for each claim that is asserted and each

4       type of relief that is sought by each plaintiff.            Now, whether

5       that comes in the form of one theory of standing that is viable

6       or five theories, I don't think that matters, but each

7       plaintiff must separately establish standing.

8                  THE COURT:    I agree with that concept.         But do you

9       also concede that, for example, the Libertarian Party, or for

10      that matter the Republican Party, if they're able to show

11      organizational standing, it is not necessary for the remaining

12      -- the Court could proceed, in other words, to the merits of

13      the case having concluded that organizational standing exists?

14                 MR. SHANNON:    Your Honor, if the Court were to, as I

15      appreciate the Court's question, if the Court were to conclude

16      that one of the organizational plaintiffs, the party

17      plaintiffs, has organizational standing, then I believe the

18      Court could proceed to reach the merits as to that plaintiff.

19      I believe that is a proper statement.

20                 THE COURT:    Now, there have been some -- there has

21      been some material that was submitted to the Court tending to

22      at least allege or tending to show that resources would need to

23      be diverted by the organizations if the period for counting

24      absentee ballots were to be extended.        How do you respond to

25      that argument?
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 54 of 81 54


1                  MR. SHANNON:    Your Honor, I would say two things in

2       response to that.    I think they're both set out in our briefs.

3       Number 1, we don't believe a sufficient evidentiary basis has

4       been presented to establish any diversions of resources as to

5       either plaintiff; number 2, even if the Court were to disagree

6       with us on that, the plaintiffs, under the case law, still have

7       to show that the diversion of resources has diminished or

8       deleteriously affected their ability to carry out their mission

9       in Mississippi.    We don't believe they have made that showing,

10      Your Honor.    In other words, they would have to show -- this

11      statute was amended in 2020.      They would have to show that

12      something has changed in their ability to effectuate their

13      missions as political parties in Mississippi since 2020 when

14      these absentee ballots started being counted after election

15      day.   And we don't believe they have made that showing.

16                 THE COURT:    All right.     And one last question, and

17      this is probably a procedural question more than anything else.

18      Obviously, if the Court were to rule that the plaintiffs in

19      this case do not have standing and does not rule on the merits

20      of the case, but only on the jurisdictional question, and let's

21      face it, I don't always get it right, and if that issue were to

22      go to the Court of Appeals and they were to determine that, no,

23      Guirola was wrong, the parties did have standing and we're

24      going to send it back, should this Court, as an alternative,

25      that's assuming without deciding that the plaintiffs in this
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 55 of 81 55


1       case do not have standing, should the Court alternatively rule

2       on the merits?

3                   MR. SHANNON:   Your Honor --

4                   THE COURT:   The whole banana would go up rather than

5       just a piece.

6                   MR. SHANNON:   I was trying to understand the Court's

7       question.   I would say this, I believe the law is clear, and I

8       stand to be corrected as well standing here today, but I

9       believe the law is clear, that standing is jurisdictional, and

10      the Court must make a determination of subject matter

11      jurisdiction with finality before it can proceed to rule on the

12      merits.   Now, I stand to be corrected if there's a case

13      somewhere saying otherwise, but that's what I would think the

14      answer would be standing here today.

15                  THE COURT:   Well, I am thinking that my colleague in

16      the Seventh Circuit did rule that the plaintiffs did not have

17      standing, but then went on to rule on the merits of the case.

18                  MR. SHANNON:   Very well may have happened.

19                  THE COURT:   In view of the issues, and the need for

20      resolution of those issues well in advance of the election,

21      would it be better if the Court adopted the procedure that was

22      used by my colleague in Bost?

23                  MR. SHANNON:   Your Honor, I would say subject to the

24      case law in the Fifth Circuit that speaks to that issue, if

25      indeed there is any, we would defer to the Court's wisdom in
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 56 of 81 56


1       that regard.

2                  THE COURT:    Thank you.

3                  MR. HOLLEMAN:     Your Honor, for the record we would

4       join in the arguments of the Secretary of State on behalf of

5       the circuit clerk and the Harrison County election commissioner

6       so we won't burden the Court with additional argument.

7                  THE COURT:    Thank you, Mr. Holleman, well stated.

8                  MR. DODGE:    I plan to use some demonstratives without

9       objection from the other parties.       I have paper copies if the

10      Court would like them; otherwise, I can just publish them to

11      the Court.

12                 THE COURT:    You may proceed.

13                 MR. DODGE:    Would Your Honor like paper copies?

14                 THE COURT:    I have a screen here myself.

15                 MR. DODGE:    If I could ask for the Court's -- thank

16      you.

17             Good afternoon, Your Honor.      Christopher D. Dodge of Elias

18      Law Group on behalf of the intervenor defendants in this case,

19      Vet Voice and the Mississippi Alliance for Retired Americans.

20      I'd like to reserve three minutes for rebuttal if the Court

21      will permit that.

22             Both of intervenor defendants in this case represent

23      groups of Mississippi voters who are most at risk from the

24      relief requested in this lawsuit.       Vet Voice represents active

25      and retired military members, many of whom, out of necessity,
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 57 of 81 57


1       must vote by mail in Mississippi, in particular those who are

2       serving overseas or in military installations outside of the

3       state.   The Mississippi Alliance represents retirees over the

4       age of 65 who are granted a special right under Mississippi law

5       to vote by mail.

6             We join in the arguments presented by the Secretary here.

7       We agree that plaintiffs lack Article III standing, and we

8       agree that they have not met the high bar to show preemption as

9       set forth by the standard in Bomer.         My presentation here today

10      will focus in particular on the history of ballot receipt

11      deadlines in the United States, which plaintiffs have made much

12      of in their briefing, along with statutory context that

13      reinforces the absence of preemption here.           And in particular I

14      am going to focus on how this history affects military voters.

15            I want to start, though, by grounding the issue in the

16      fact that this historical analysis really does not control the

17      Court's inquiry, and we make that clear in our briefing.              The

18      Secretary got it exactly right.         The governing standard here is

19      set forth in Bomer, sets a very high bar for preemption, a

20      direct conflict.    My friend, Mr. Nobile, suggested for the

21      first time in argument today that Bomer is not good law on that

22      point.   That is not in their briefing, so far as I can tell,

23      and I would suggest that's wrong, that Bomer continues to

24      control here.    It is not inconsistent with Supreme Court

25      precedent.    In fact, some of the Supreme Court precedent my
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 58 of 81 58


1       friend Mr. Shannon pointed to, the Classic case, I'd also point

2       to the Smiley case from, I believe, 1932, go to great lengths

3       to stress the autonomy and discretion that states have in

4       determining the manner of their elections under our federal

5       system.

6             That said, the history here is worth considering because

7       while the plaintiffs pick at bits of it in their briefing, when

8       you actually look at the broad sweep of it, it shows two things

9       that I think are relevant to the Court.         First, it shows that

10      over the last century many states, far more than suggested in

11      the briefing, have, in fact, adopted post-election-day ballot

12      receipt deadlines.

13            The second point that I think is worth bearing in mind is

14      that Congress has been acutely aware of these state laws at

15      various points in time over the past century, during time of

16      war, during time of peace, and it has not taken a single act to

17      try and bar or inhibit or preempt these efforts.             And I will

18      get into that in a bit.

19            As Mr. Nobile said, these absentee voting laws began to

20      emerge during the Civil War era.        Many states adopt laws to

21      permit service members in the field to vote.             The way many of

22      those laws work, this is spelled out by the United States at

23      their statement of interest at 11 at 12, is that soldiers would

24      cast ballots in the field oftentimes in front of their own

25      officers who would serve as de facto election officials.              Those
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 59 of 81 59


1       ballots then had to be transmitted back after election day to

2       their home states to actually be counted by the relevant local

3       officials who are responsible for tabulating the votes,

4       canvassing the votes, and announcing the results.

5             My friend Mr. Woodfin suggested that there is a very easy

6       rule in this case, which is that whenever the election official

7       receives the ballot, that's when the election is consummated.

8       But as far back as the Civil War, these absentee laws

9       contemplated that service members would vote on election day in

10      the field, and that the actual relevant election official who

11      is responsible for tabulating that vote, adding it to the

12      canvas, would not even receive it until days later.            So from

13      the very start, the rule proposed by plaintiffs here just

14      doesn't work with the history.

15            As Mr. Nobile said, these laws really began to proliferate

16      in the early 20th century with the advent of the secret ballot,

17      the advent of the first World War.        And a lot of states started

18      adopting absentee ballot laws of different flavors and

19      reflecting the very federal nature of our Constitution and our

20      electoral system, they adopt very different models.            Four

21      states adopt a model whereby a person absent from their

22      precinct on election day is permitted to vote on election day

23      elsewhere in the state, and their ballot is then transmitted

24      back through the mail to their home precinct to be counted.

25      That is little different than the Mississippi law before us
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 60 of 81 60


1       here today.    That included states like Kansas, Missouri, Oregon

2       and Florida.

3             At the same time, other state's adopted models more

4       similar to what we recognize as absentee voting today, where a

5       person requests a ballot ahead of time, completes it and mails

6       it back.    And at least one state at that time, roughly a

7       century ago, adopted a law, again not dissimilar to the

8       Mississippi law here today.      That was California.        California

9       had a rule whereby an absentee ballot cast on the day of the

10      election was counted provided it was received by the election

11      office within 15 days thereafter.       Of course, we have a far

12      narrower law here.

13            These laws also were motivated by the first World War.                In

14      the wake of the first World War, 18 states had adopted statutes

15      specifically addressing overseas military voters, and several

16      of these included express post-election-day ballot receipt

17      deadlines.    Maryland had a 7-day post-election-day ballot

18      receipt deadline; Kansas has had a 10-day ballot receipt

19      deadline.    Those military-focused laws cannot be separated when

20      it comes to the rule put forward by plaintiffs.           They would be

21      every bit as invalid as a general all-purpose post-election-day

22      statute.

23            This then leads to the second World War era where this

24      issue proliferates even further.        Millions of Americans are

25      serving overseas, it becomes an acute issue of public concern
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 61 of 81 61


1       that they be able to participate in elections.           So in 1942,

2       Congress passes something called the Soldier Voting Act, which

3       is discussed somewhat in the briefing.         It creates a new novel

4       federal war ballot that creates a federal minimum so all

5       service members, regardless of what state they are voting in,

6       can at least participate in federal elections overseas via a

7       war ballot, even if their state doesn't otherwise offer

8       absentee voting.

9             And as we note in their briefing, Congress, knowing that

10      there was not, in fact, a federal default deadline for ballots,

11      for the first time expresses, very clearly and categorically in

12      that 1942 act, these federal war ballots must be returned by

13      the hour the polls close on election day.          There would be no

14      need for such a rule if, as my friends urge, there had, in

15      fact, been a long-standing federal default.          Congress

16      prescribed it because they knew that that rule was lacking in

17      federal statute.    And they further knew it because at the time,

18      by 1943, there were eight states that had post-election-ballot

19      receipt deadlines.

20            You have before you here a document that was actually

21      pushed by the Office of War Information for soldiers during the

22      second World War advising them of the deadline by which they

23      had to ensure that their state ballots were successfully

24      returned.   And as you see in the red boxes, there were seven

25      states as of 1942 that had dates after the date of the
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 62 of 81 62


1       election.   Nebraska joined them a year later.           Congress knew

2       about this, they knew about this, in fact, because a

3       congressman from Mississippi, Congressman Rankin, introduced it

4       into the Congressional record in 1943 when Congress was

5       debating amendments to the 1942 act.        Again, they were well

6       aware of these state rules.

7              These rules, this is just a sampling of them here, these

8       state rules at the time of the second World War are materially

9       indistinguishable from the law before us here today.            They're

10      in the congressional record, I won't read them all here, but

11      just to give a sample, for example, Rhode Island had a rule

12      that on election day the voter had to mark their ballot, before

13      midnight they had to mail the ballot, and then it had to reach

14      the Secretary of State by the second Monday after the election.

15      Again, these laws are not the novelty plaintiffs suggest they

16      are.

17             In the post war era, these laws continue to exist.           The

18      United States points to several in their statement of interest,

19      including Missouri and Alaska.      The plaintiffs themselves can

20      see that there were certain states, Nebraska and Washington,

21      that also continued to use them.        And Congress was aware of

22      them.   As I believe the DNC points out in their Amicus brief,

23      none other than Senator Goldwater acknowledged in 1970 when

24      discussing amendments to the Voting Rights Act, that there were

25      states that had post-election-ballot receipt deadlines.             Once
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 63 of 81 63


1       more, uncontested evidence that Congress has known about these

2       laws for decades.

3             And this gets to a statute that's already been mentioned,

4       which is UOCAVA.    UOCAVA was signed into law in 1986 by

5       President Reagan.    It creates a federal write-in ballot for

6       service members and Americans overseas to be able to vote.              In

7       passing that law, Congress heard testimony from the director of

8       the federal voting assistance program, which is something

9       that's a part of the Department of Defense, it exists to help

10      service members overseas to be able to vote.             They heard

11      testimony from the director of that program that as of the mid

12      '80s, 12 states had extended the deadline for the receipt of

13      voted ballots to a specific number of days after the election,

14      at least for service members.      So as of the mid '80s, you have

15      a dozen states that have adopted these sorts of

16      post-election-ballot receipt deadlines.

17            In the face of that knowledge, Congress then passes

18      UOCAVA, which as Mr. Shannon pointed out, and as discussed in

19      the briefing, expressly adopts state deadlines into federal

20      statute.   My friend Mr. Nobile suggested, oh, they did this

21      because there were a handful of states that had pre-election

22      day deadlines and Congress wanted to respect that.             That is, at

23      best, a partial answer to that statutory text because, in fact,

24      as the Congressional record makes clear Congress knew there

25      were a dozen states out there that had deadlines after election
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 64 of 81 64


1       day.    And what did they do in the face of that knowledge?            They

2       put the term state deadline into federal statute.             They

3       certainly didn't believe that the existing election day

4       statutes answered the question.         And they didn't even then say,

5       well, no, these federal ballots, they have to arrive by

6       election day come high water, we're going to respect that

7       states have made certain determinations here oftentimes

8       specifically for service members.

9              And I would point out that your colleague in the Northern

10      District in the Bost case pointed to this at page 11 of his

11      decision saying that the UOCAVA law demonstrated that even

12      federal laws governing elections allowed ballots received after

13      election day to be counted.      I think that was an entirely

14      correct observation.

15             This gets into more recent history.        My friend from the

16      Republican National Committee suggests that these laws, again,

17      have proliferated in the last few years in response to

18      COVID-19.   That, again, is at best is a partial history.             After

19      the 2000 election, the Government Accountability Office does a

20      report looking at access to the ballot for service members and

21      they prepare a report for Congress which is delivered in May of

22      2001.

23             The comptroller general reports that at that time 15

24      states had post-election-ballot receipt deadlines, at least for

25      service members, 15 states.      Another report put out by the GAO
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 65 of 81 65


1       that same year points out that there are ten states that permit

2       post-election-receipt for all voters, including military

3       voters.   I think it's worth noting, as well, that these states

4       are not localized to a particular region of the country,

5       they're not rural states, they are not urban states, they are

6       states of all character.      They included at that time Alaska,

7       Iowa, Maryland, Nebraska, New York, North Dakota, Utah,

8       Washington, West Virginia and the District of Columbia.

9             And of course, as the Court well knows from the briefing,

10      these states have grown in frequency in the intervening years.

11      Your question, Your Honor, to Mr. Nobile at the outset noted

12      that these laws exist in many states now.           At this point, there

13      are 18 states, the District of Columbia and several territories

14      that have general purpose post-election-ballot receipt

15      deadlines.    And I think, particularly relevant to my client,

16      there are nine states that do not have general purpose laws,

17      but they do have laws specifically for the service members,

18      which means at this point in time you now have the majority of

19      states which have adopted laws.         And as Mr. Nobile I think

20      candidly conceded, there is little basis to distinguish these

21      laws materially from the challenge at issue here today, and I

22      think the Court is clearly aware of that issue.

23            So I will just close by, again, going back to these two

24      points.   These laws have existed for far longer than my friends

25      on the other side would like to admit.          They have been far more
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 66 of 81 66


1       common than they would like to admit, they go back at least a

2       century, they reflect the federalized nature of our electoral

3       system, they reflect an acute policy concern for voters who

4       deeply rely on mail absentee voting in order to exercise the

5       franchise.    And as the congressional history from the second

6       World War shows, from UOCAVA shows, from Senator Goldwater

7       shows, from the testimony of the comptroller general shows,

8       Congress has time and time and time been aware of these laws.

9       My friends on the other side cannot point to a single

10      Congressional effort to tamp down on these laws, not one in

11      over a century.

12            And as the Bomer decision points out, courts should be

13      very light to disturb such longstanding precedent.            I think as

14      Mr. Shannon said, their burden here is high to show a direct

15      conflict.    They are asking us all to squint at these election

16      day statutes to find a conflict that isn't really there.             They

17      haven't met that bar.     And with that, I am glad to answer the

18      Court's questions.

19                  THE COURT:   I am aware there are many states that

20      have post-election-day absentee ballots that are received, and

21      there are different time limitations in many different states.

22      Does there ever come a time when a statute passed by one of our

23      states for the receipt and ultimate counting of absentee

24      ballots, does there ever come a time when that statute becomes

25      so burdensome that it, and I am talking about time-wise, that
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 67 of 81 67


1       it then becomes inconsistent with the election day law?

2                  MR. DODGE:    I will start with the obvious caveat that

3       that is not the issue we have here where we have a relatively

4       conservative such state law.      But taking Your Honor's

5       hypothetical, the answer is that it depends on the election.

6       And I would point first to the fact that under federal law,

7       there are mandatory dates of events that must occur for a

8       presidential election.     The electors -- Congress must accept

9       the electors.    The president must be sworn in.         So for

10      presidential elections, federal law provides a very clean outer

11      limit because you could not count ballots a year later.

12            For congressional elections, I think this is just a

13      practical question.      We have pointed out there are half the

14      states, roughly, that have these laws.         I think the most

15      lenient is two weeks, and that's because there are other

16      election administration duties that states have.            They have to

17      canvas the votes, they have to collect the ballots.            There are

18      all these other tasks that are part of the electoral sequence.

19      No state has gone beyond something like two weeks.            Again, two

20      weeks is what California had a century ago.          And in that time,

21      we have not seen any sort of ludicrous nine month sort of rule.

22            So I can't draw a line here today and say a month is

23      acceptable, but six weeks isn't.        I think the laws as they

24      exist today in states across the country are well within

25      whatever that hypothetical outer boundary might be.
     Case 1:24-cv-00025-LG-RPM    Document 110    Filed 08/09/24   Page 68 of 81 68


1                   THE COURT:    Assuming that there's a line somewhere,

2       what would the standard be for determining whether that line is

3       proper or whether it should be shorter, longer?

4                   MR. DODGE:    Well, certainly it would depend on the

5       nature of the claim.      Their claim here is chiefly a preemption

6       claim.   Their claim is here is that congress has spoken to the

7       issue.   I think as other case law is made clear, as Mr. Shannon

8       made clear in his argument, Congress has not spoken to this

9       issue.   Could there be some plausible due process argument at

10      some point that a person's right to an electoral outcome is

11      somehow inhibited if you have some sort of ludicrous,

12      far-fetched statute?      Possibly.      That's not their claim.

13                  THE COURT:    Thank you.     Why don't we take a

14      five-minute recess and I will allow you all to collect

15      yourselves, and when we come back I will hear what rebuttals

16      you may have.    Be in recess for five minutes.

17            (RECESS TAKEN AT 3:10 P.M. UNTIL 3:27 P.M.).

18                  THE COURT:    Gentlemen, do you wish to make a

19      rebuttal?   We'll start with you, Mr. Nobile, and work our way

20      around the horn.

21                  MR. NOBILE:    Thank you, Your Honor.          Russ Nobile for

22      the Libertarian Party again.       The Court correctly recognized

23      the limiting principle problem with the position that the other

24      side is taking regarding late-arriving ballots.             There's

25      nothing to stop conceptually 90 days, 100 days, it's a real
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24    Page 69 of 81 69


1       problem.   As we noted in our initial papers that we agree that

2       states have experimented with this, the 50 laboratories about

3       late-arriving ballots, most of those states abandoned those

4       over the years.    We would note that in Footnote 21 of document

5       80, we set forth the current ones and how recently they have

6       been enacted.    Most of them were after the passage of HAVA in

7       2004, with the exception of Washington State, which we concede

8       has been going on for a while.

9             I appreciate a good election law history lesson.             I have a

10      little trouble reading one of these documents that he presents

11      here, but my friend on the other side provided, is that many of

12      these states require pre-election receipt, including some

13      required receipt by the primaries.        It just goes to show you

14      that during the election, during the wartime they made a number

15      of different policies.

16            This issue comes up now because in 1920 there was

17      .5 percent of the ballots were absentee.         And then in the year

18      2000, 10 percent; 2016 it was 21 percent; in 2020 it's

19      46 percent are ballots received by mail now.             People largely --

20      Congress, to the extent they paid attention to it, largely

21      ignored it because it was de minimis for most of the time when

22      states experimented it.      That is set out in Footnote 22 of

23      document 56.

24            And I think a lot of this discussion about congressional

25      tolerance needs to appreciate how difficult it is to have any
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 70 of 81 70


1       legislation regarding elections passed through Congress.               There

2       were almost floor fights over House Bill 1 three years ago, or

3       in 2021 when I testified on the hill four times regarding it.

4       That bill failed.    It is very difficult to get legislation

5       through Congress on federal elections.          And so to the extent

6       that there is, indeed, this perception of congressional

7       tolerance, I don't think -- I think they're over extrapolating

8       it.

9             And finally, in terms of duration, we noted the statute

10      struck down in Foster, which had been there 22 years, the

11      Supreme Court tolerated one-person, one-vote violations for

12      almost 90 years before they announced the one-person, one-vote

13      standard.    The Court touched on whether or not this would have

14      a broad effect on other states.         There's a dissent from Justice

15      Harlan in the Reynolds v. Sims case from 1964 which applied

16      one-person, one-vote to state legislators.           In there he pointed

17      out that the one-person, one-vote standard would require six

18      states to redistrict impacting over 44 legislature districts.

19      When it's a material question or significant question,

20      sometimes it will have broad effect, but I don't know that that

21      should affect the Court's, the possible expanse should affect

22      the Court's decision making.      Unless the Court has any other

23      questions?

24                  THE COURT:   I might, hang on there.          Let me get

25      through my notes.    Mr. Nobile, could Congress in its wisdom
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 71 of 81 71


1       decide to change the election day statute to eliminate absentee

2       ballots that are received after the election day?

3                  MR. NOBILE:    Could Congress create legislation that

4       bans post receipt -- post-receipt ballots, or post election,

5       yes.    Well, let me think.    It's taken for granted a lot of

6       times, the elections and the electors clause have coterminous

7       or equal control over the timing concept, but the manner

8       concept is a little different in the elector's clause context.

9                  THE COURT:    That was going to be the second part of

10      my question.    If they have the power to do that, would that

11      then be inconsistent with the portion of the Constitution that

12      gives that authority to the states?

13                 MR. NOBILE:    In Foster v. Love the Court talked about

14      this because Louisiana said, well, Your Honor, that's just a

15      manner regulation, don't be distracted, you know, that's

16      outside a timing context.      And the Supreme Court said, we don't

17      care.   If it's a manner regulation -- and I'm paraphrasing,

18      obviously.    It says, if you are intruding on the timing it

19      doesn't matter what you call it, and it's towards the end of

20      the argument.

21                 THE COURT:    Thank you.

22                 MR. NOBILE:    Or I should say ruling, not argument.

23                 MR. WOODFIN:    Just a few points on rebuttal.          There

24      was a suggestion that we abandoned a few arguments, I want to

25      briefly address those.     There is a suggestion that we abandoned
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 72 of 81 72


1       Mr. Perry's standing.     We didn't.    He is a voter.       The basis

2       for his standing is vote dilution.        We address that on pages 16

3       through 19 of our response brief, and pages 10 through 11 of

4       our reply.

5             There was also suggestion that we abandoned the

6       constitutional claim.     Again, we didn't abandon those, those

7       are addressed on pages 29 through 30 of our response brief, and

8       pages 18 through 19 of our reply.

9             Turning to standing very briefly, you do rather -- one

10      plaintiff is enough, that's the rule.        And it's one plaintiff

11      is enough for each claim.      So as long as there's standing for

12      each claim in the complaint, then you don't need to satisfy

13      yourself that all plaintiffs have standing.          The best

14      explanation of this is Footnote 6 of the Supreme Court's case a

15      few years ago in Little Sisters of the Poor versus

16      Pennsylvania.    The Court said as long as one party has standing

17      for each claim in the complaint, then there is a justiciable

18      controversy over each claim, and that satisfies Article III.

19            And the Court went further and said the District Court

20      would err by inquiring into the standing of other plaintiffs if

21      it satisfies itself that at least one plaintiff has standing

22      for each claim in the complaint.        So it's actually error -- in

23      order to dismiss on standing, you would have to dismiss on all

24      standing grounds on every single theory we raise.            And of

25      course, we do have standing under all of those theories.
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 73 of 81 73


1             Briefly, on the competitive standing injury, the only

2       argument I heard on this really is that we haven't shown that

3       there will be a different outcome in the election.            Benkiser

4       does not require us to predict the results of the next

5       election, it doesn't require you to predict the results of the

6       next election in order to show we have an injury.            This really

7       comes from the Third Circuit's vacated opinion in Bognet, and

8       it's an error that confuses post-election challenges where

9       there's a prudential rule that a Court will not set aside

10      ballots or count additional ballots unless that will change the

11      result of an election that has already happened.            That's when

12      you have the information in front of you and you know when an

13      election will flip.      That prudential rule post-election is

14      different than seeking what we're doing here, is prospective

15      relief before an election we're allowed under TransUnion to sue

16      for the risk of harm.     Here the injury, the competitive injury

17      is the decreased risk in the electoral chances.

18            On organizational standing, really the only argument I

19      heard is that we have no competent summary judgment evidence or

20      the evidence we do present doesn't amount to it.            The best

21      place I can point you to in the record is document 75-1, this

22      is Mr. Blair's declaration, specifically paragraphs 5 and 6.

23      He outlines exactly how the RNC's mission is harmed,

24      Traditional get out the vote operations are critical to the

25      RNC's mission to represent the interest of the Republican Party
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 74 of 81 74


1       and secure the election of republican candidates by causing the

2       RNC to divert resources away from those efforts in Mississippi

3       and in other states.     Mississippi's post-election receipt of

4       mail-in ballots directly harms the RNC's mission.            This is

5       competent summary judgment evidence under Rule 56(c)(4).             This

6       is a declaration sworn under penalty of perjury.            They don't

7       dispute the facts in these declarations and that's sufficient.

8             Finally, the Civil War absentee voting issue is actually a

9       great picture how this works out.       Those soldiers were sworn in

10      as state election officials.      They were sworn in as judges, as

11      registrars, as clerks so that they could consummate the

12      election when they received the absentee ballots.            That's the

13      original understanding, the original meaning of the election

14      day clauses.

15            I have not heard a concise, sensible explanation of what

16      an election day means from my friends on the other side, but we

17      have given you a clear rule that is supported by the text,

18      history, structure and case law, an election day means the

19      final day ballots are received by election officials.             And if

20      you agree with us on the bottom line, then we ask that the

21      Court deny the defendants' motions and grant the plaintiffs'

22      motions for summary judgment.

23                 THE COURT:    Thank you.

24                 MR. SHANNON:    Your Honor, Rex Shannon for the

25      Secretary of State.      Very briefly, just so there's no -- just
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 75 of 81 75


1       so it's clear, I think we provided a definition of what the

2       Secretary believes election day means.         And just to reiterate

3       that, we believe it is the date that the ballot, the mail-in

4       absentee ballot is irretrievably cast in the mail, deposited in

5       the mail, and that at that point it is presumptively,

6       constructively received, deemed to be received, soon to be

7       received by the voting registrar.       So that is the election day

8       definition that we believe -- that's what we believe election

9       day means under the federal election day statutes, what it

10      means under the Mississippi statute.

11            Certainly, the Foster case does no harm to that for the

12      reasons that we stated, and I won't belabor the point.             But I

13      wanted to be clear that we have attempted to define election

14      day to the extent we are required to under the case law.

15      That's all I have, Your Honor.

16                 THE COURT:    You know, curiosity more than anything

17      else compels me to ask.      I am aware that the legislature took

18      up the possibility, or took it up amending absentee ballot law

19      to eliminate the five-day period, and I guess my question is

20      what happened.

21                 MR. SHANNON:    Your Honor, my client is the Secretary

22      of State as Your Honor knows, he is not a member of the state

23      legislature.    I don't represent the Mississippi legislature.              I

24      don't know what happened.      Far be it from me to speculate, Your

25      Honor.   That's the best I can tell you.        I do not know the
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 76 of 81 76


1       answer.

2                  THE COURT:    Then my curiosity will have to remain

3       unquenched.    Thank you.

4                  MR. SHANNON:     Thank you, Your Honor.

5                  MR. DODGE:    Just a few points, Your Honor.         Going

6       back to the question you asked me at the end of my presentation

7       about sort of the limiting principle here.          I wanted to add one

8       thing to my answer, which is that all parties here agree today

9       that ballots must be cast by election day.          Typically,

10      something sent in the mail takes two, three, maybe four days to

11      arrive, and that is why you see states adopting laws that are

12      roughly of that length, maybe a little extra wiggle room,

13      before the state has to canvas results.

14            The reason these sort of fanciful hypotheticals really

15      need not bother the Court is not only the fact that no state

16      has adopted them over the last century, but the fact that they

17      don't correspond to the fact that the ballot must still be cast

18      by election day.    Maybe one vote takes a circuitous trip around

19      the country and takes six months to arrive at the local

20      election officer's station, but that's not the ordinary course.

21      Most of these things are going to be delivered in the following

22      week.   And I think that casting deadline sets an anchor that

23      hopefully addresses the Court's concern.

24            Let me rase a couple more points.        Coming back to the

25      issues of UOCAVA.    This is addressed in the briefing, but I
     Case 1:24-cv-00025-LG-RPM    Document 110   Filed 08/09/24    Page 77 of 81 77


1       think it bears stressing because it was mentioned by the other

2       side.   District Courts across this country, this is in the

3       United States' brief in great detail, oftentimes as a remedy

4       for failure to provide UOCAVA ballots in time for overseas

5       voters will, as a matter of equity, extend state ballot receipt

6       deadlines.    That has happened for decades.         Under plaintiffs'

7       view, that relief can no longer be available.             They say, well,

8       it's an equitable remedy so it's fine, it doesn't matter that

9       there's a federal statute that precludes it.              That's not what

10      the Supreme Court said in INS v. Pargilnana, I'll spell it,

11      P-A-R-G-I-L-N-A-N-A, it's in our briefing.           The Supreme Court

12      there says in 1988 very clearly, courts of equity cannot

13      provide a remedy that contravenes statute.           So if they are

14      right, that equitable relief for overseas voters disappears.

15            Going back to the history -- I won't repeat things.              My

16      friend, Mr. Woodfin, said that the Civil War history aids him.

17      I have a hard time understanding that.          Under his reading of

18      the term "election," it is consummated when the election

19      official receives it.      But all parties here agree that at the

20      time of the Civil War those officers had to bring the ballots

21      back to their home states.       What if they were way-layed, what

22      if they didn't do so.      In fact, in one of the treatises they

23      cite, it was acknowledged that they did not get back in time

24      for the state canvassing deadline in the State of Vermont, so

25      they didn't count.       Plainly, it's not consummated at their
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 78 of 81 78


1       encampment on the field of battle when their officer tallies

2       their votes because it has to get back to the state to matter.

3       And the Vermont example illustrates that, in fact, their

4       definition breaks down as early as the 1860s.

5             A final point, Your Honor, U.S., Mr. Nobile, I think the

6       million dollar question here, could congress legislate on this

7       question.   He said yes.     That's entirely correct.        They

8       haven't.    That resolves the preemption here lock, stock and

9       barrel.    What they are asking you to do is to legislate in the

10      place of Congress, to add a little bit of text into the

11      election day statutes, to do what Mr. Nobile conceded they

12      could do, but have not in 150 years.        And that really resolves

13      the merits here.    Unless Your Honor has additional questions.

14                  THE COURT:   Thank you.

15            Ladies and gentlemen, I want to thank all of you

16      presenters that have argued on behalf of your clients.              I found

17      your arguments very insightful and very helpful, and I

18      appreciate them very much.

19            I also want to commend all of the Amici in this case that

20      took time to submit briefs and materials as well.            I found

21      those also very helpful and insightful as well.

22            Now, I think I can go out on a limb here and say that

23      there is no category of case that is more important, more

24      critical than one which asks the Courts to rule on a case or on

25      issues that may affect the right to vote.          Those types of
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 79 of 81 79


1       cases, not only are they critically important, but they require

2       very careful consideration.      For that reason, obviously, I will

3       not rule from the bench.      Instead, I am going to take the time

4       to review once again the briefs, the arguments that have been

5       made here today, and the case law that's available to me before

6       I issue a written opinion.

7              I wanted to ask you, Mr. Shannon, what is the timeframe?

8       I know that the Secretary of State has got to get these

9       absentee ballots out with some rapidity.         What is the timeframe

10      here?

11                  MR. SHANNON:   Yes, sir.    I don't know the exact

12      timeframe in terms of the absentee ballot issue.            I believe

13      we're 100 some odd days from the November 5th election at this

14      point.   I know there are timeframes that come into play pretty

15      quickly here but I don't have that information at had.             I can

16      certainly get that for the Court and follow up.

17                  THE COURT:   Well, I'll pledge to you that I am not

18      going to take a vacation or anything, I am going to get on it

19      pretty quickly.    This is an important case and I will try get

20      it right.

21                  MR. SHANNON:   We know you will, Your Honor.          Thank

22      you.

23                  THE COURT:   Anything else on behalf of the

24      plaintiffs?

25                  MR. WOODFIN:   No, Your Honor.
     Case 1:24-cv-00025-LG-RPM   Document 110    Filed 08/09/24   Page 80 of 81 80


1                  MR. NOBILE:    No, Your Honor.

2                  THE COURT:    Anything else on behalf of the defendants

3       and intervenor?

4                  MR. DODGE:    No, Your Honor.

5                  MR. WOODFIN:    No, Judge.

6                  THE COURT:    Nothing then, we're adjourned.

7                                (HEARING CONCLUDED)

8                                        - - -

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:24-cv-00025-LG-RPM   Document 110   Filed 08/09/24   Page 81 of 81 81


1

2                     CERTIFICATE OF COURT REPORTER
3

4              I, Sherri L. Penny, RPR, FCRR, Official Court Reporter
5       for the United States District Court for the Southern District
6       of Mississippi, appointed pursuant to the provisions of Title
7       28, United States Code, Section 753, do hereby certify that the
8       foregoing is a correct transcript of the proceedings reported
9       by me using the stenotype reporting method in conjunction with
10      computer-aided transcription, and that same is a true and
11      correct transcript to the best of my ability and understanding.
12            I further certify that the transcript fees and format
13      comply with those prescribed by the Court and the Judicial
14      Conference of the United States.
15

16

17
                                 S/ Sherri L. Penny
18                               OFFICIAL COURT REPORTER

19

20

21

22

23

24

25
